ATTACHMENT.
Rule to show cause why an exoneretur should not be entered on a bail piece.
The deft., McLear, was summoned as the garnishee of Goldsmit and Goudkop, on a writ of foreign attachment, at the suit of plffs., against the said Goldsmit and Goudkop. The defts. appeared and put in special bail to the action, and thereby discharged the garnishee and dissolved the attachment. Dig. 46. The bail now applied for an exoneretur, on the ground that the defts. had, previously to the attachment, been regularly discharged under the insolvent laws of Pennsylvania. Both plffs. and defts. are residents of Pennsylvania.
The Court at first doubted; but, on consideration, they made the rule absolute. See ante 367: Bailey vs. Seal'sspecial bail, and 8 T. Rep. 609.